


  By the Court.
 

  It is ordered, that the Defendant in error recover as damages againft the Plaintiff in error the fum of 3)515 dollars and 11⅝cents, being the intereft on 34,841 dollar^ and cents, the amount.of the fales of the brig
  
   Ever ton
  
  and her cargo, from the 5th of
  
   May,
  
  1795, the date of the decree of the Circuit Court in the faid _caufe, being 1 year, 3 months aud 4 days, at the rate of 8 per cent per annum: And, alfo, that the faid Plaintiff in error, do pay the cofts accrued in this caufe fince the laft term. And a fpecial mandate is awarded to carry this order into execution.
 
